Case 5:24-cv-00029-RWS-JBB   Document 5-1   Filed 05/28/24   Page 1 of 2 PageID #:
                                     21




                             EXHIBIT 1
     Case 5:24-cv-00029-RWS-JBB Document 5-1 Filed 05/28/24 Page 2 of 2 PageID #:
      Case 5:24-cv-00029-RWS-JBB Document 422 Filed 04/08/24 Page 2 of 2 PagelD #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:24-CV-29

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           This summons for (name ofindividual and title, ifany)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 011 (date)                            ; or

          0 I left the summons at the individual's residence or usual place of abode with (,1C1me)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual's last known address; or

          'f511'1 served the summons on (name of individual)                     Keith Horneker                                 , who is
           designated by law to accept service of process on behalf of (name oforganization)                      Autoplex Extended
          Services, LLC                                                         011 (date)                             ; or

          0 I returned the summons unexecuted because                                                                                ; or

          0 Other (speci.M.·




          My fees are$                            for travel and$                    for services, for a total of$            0.00


          I declare under penalty of perjury that this information is true.


Date:      :S) 2-K) 2lj                                                  rvlilrM�""ag];�!w?
                                                                                 Melissa Johnston, Paralegal
                                                                                         Printed name and title




                                                                    3211 McKnight Crossing, Texarkana, TX 75503
                                                                                              Server ·s address


Additional information regarding attempted service, etc:


I served the summons on April 9, 2024 by using a private process server who left copies of the business office
of Autoplex Extended Services, LLC.

I served the summons again on May I, 2024 by ce1tified mail to the Texas Secretary of State.
